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                                                                      FILED
                                                                        MAY 162013
                          UNITED STATES DISTRlCT COURT               Clerk, U$ District Court
                                                                       District Of Montana
                              DISTRlCT OF MONT ANA                          Great Falls
                              GREAT FALLS DIVISION



    UNITED STATES OF AMERlCA,                      Case No. CR-13-34-GF-DLC-RKS

                        Plaintiff,                 FINDINGS AND
                                                   RECOMMENDAnON
    vs.                                            CONCERNING PLEA

     WILMA JAMIE RAE HOYT,

                        Defendant.

          The Defendant, by consent, has appeared before me under Fed. R. Crim. P.

    11 and has entered a plea of guilty to one count of Conspiracy To Possess With

    The Intent To Distribute Methamphetamine (Count I), as set forth in the

    Indictment. In exchange for Defendant's plea, the United States has agreed to

    dismiss counts II and III of the Indictment.

          After examining the Defendant under oath, I have made the following

    determinations:

          1. That the Defendant is fully competent and capable of entering an

    informed and voluntary plea,

          2, That the Defendant is aware of the nature of the charge against her and

    consequences of pleading guilty to the charge,
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                   3. That the Defendant fully understands her constitutional rights, and the

             extent to which she is waiving those rights by pleading guilty, and

                   4. That the plea of guilty is a knowing and voluntary plea, supported by an

             independent basis in fact sufficient to prove each ofthe essential elements of the

             offense charged.

                   The Court further concludes that the Defendant had adequate time to review

             the Plea Agreement with counsel, that she fully understands each and every

             provision of the agreement and that all of the statements in the Plea Agreement are

             true. Therefore, I recommend that the Defendant be adjudged guilty of Count I of

             the Indictment, and that sentence be imposed. I further recommend that Counts II

             and III of the Indictment be dismissed.

                   This report is forwarded with the recommendation that the Court defer

             a decision regarding acceptance until the Court has reviewed the Plea

             Agreement and the presentence report.

                   DATED this 16th day of May, 2013.




                                                    United States Magistrate Judge
